       Case 7:17-cv-00109 Document 11 Filed in TXSD on 07/24/17 Page 1 of 1
                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                                                                                            July 24, 2017
                                     UNITED STATES DISTRICT COURT
                                                                                         David J. Bradley, Clerk
                                      SOUTHERN DISTRICT OF TEXAS
                                          MCALLEN DIVISION

JESUS BACA, et al,            §
                              §
      Plaintiffs,             §
VS.                           § CIVIL ACTION NO. 7:17-CV-00109
                              §
ALLSTATE VEHICLE AND PROPERTY §
INSURANCE COMPANY, et al,     §
                              §
      Defendants.             §

                                               ORDER

         The Court now considers the joint stipulation of dismissal filed in this case.1 Federal Rule

of Civil Procedure 41(a)(1)(A)(ii) provides for dismissal of an action without court order if the

stipulation of dismissal is signed by all parties who have appeared. 2 Here, the stipulation of

dismissal is signed by all parties who have appeared.3 Thus, the case is DISMISSED WITH

PREJUDICE.

         IT IS SO ORDERED.

         DONE at McAllen, Texas, this 24th day of July, 2017.


                                                   ___________________________________
                                                   Micaela Alvarez
                                                   United States District Judge




1
  Dkt. No. 10.
2
  Fed. R. Civ. P. 41(a)(1)(A)(ii).
3
  Dkt. No. 10 p. 2.

1/1
